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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INI)IANA

FORT WAYNE DIVISION
IN RE: CASE NO. 18-12049
TIAUNSHAI KlNG
Debtor CHAPTER 13

 

TRUSTEE’S MOTION TO DlSMlSS

 

COMES NOW, Debra L. Miller, Trustee, and for her l\/lotion to Dismiss, States:

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This Bankruptcy Was filed on October 22, 2018. Debtor is proceeding Pro-Se.

Debtor has failed to file schedules A through J.

Debtor has failed to file a l\/leans Test Form and a Statement of Financial Affairs.
Debtor has failed to file a Plan Within 14 days of filing the Voluntary Petition as
required per Rule 3015, and ll U.S.C. §1321.

The failure to file the Schedules, Means 'l`est Form, Statement of Financial Affairs,
and Plan constitutes unreasonable delay and cause for dismissal under ll U.S.C.
§1307(0)(1) and 11 U.S.C. §l307(c)(3).

'l`his is Debtor’s fifth filing since his initial filing of Chapter 13 under Case Number
10-11239 on March 25, 2010.

Debtor’s Plan was confirmed in Case Number 10-11239 on June 16, 2010 With a Plan
payment of $5,738.21 month being paid direct by Debtor.

Debtor consistently failed to make a full Plan payment and the case was dismissed for
failure to make plan payments on December 8, 2011 on Motion of Trustee Donald

Aikman.

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On February 16, 2012, Debtor filed Chapter 13 under Case Number 12-103 56 and the
Plan was confirmed on May 2, 2012 with a Plan payment of $4,700.00 via Wage order
in an amount sufficient to make the Plan payment, however, the amount submitted by
the employer was not the full withholding and Debtor’s supplement payments were
not consistent and failed to make up the deficient payment amounts

The case was dismissed for failure to make plan payments on February 26, 2014 with
a delinquency of$l4,834.98.

On March 16, 2015, Debtor filed Chapter 13 under Case Number 15~10532 and the
Plan was confirmed on September 17, 2015 with a Plan payment of $8,562.00 via
wage order of $615.00 per week ($2,665.00 per month) that was not sufficient to
make the Plan payment Debtor’s supplement payments were not consistent and
failed to make up the deficient payment amounts

The case was dismissed for failure to make plan payments on March 16, 2016 with a
delinquency of 329,163.91.

On July 26, 2016, Debtor filed Chapter 13 under Case Number 16-11545 with a
proposed Plan payment of $2,500.00 via wage order in an amount sufficient to make
the Plan payment, however, the amount submitted by the employer was not the full
Withholding and Debtor did not make supplement payments to make up the deficient
payment amounts

On October 27, 2016, Debtor filed an Amended Chapter 13 Plan with a proposed Plan
payment of $3,250.00 via wage order in an amount sufficient to make the Plan

payment, however, the amount submitted by the employer was not the full

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withholding and Debtor did not make supplement payments to make up the deficient
payment amounts

Trustee Debra L. l\/liller filed a l\/lotion to Dismiss for the reason that Debtor’s
mortgage holder filed a Relief Prom Stay as no direct mortgage payments had been
made since the filing of this bankruptcy on July 26, 2016.

A hearing was held on December 20, 2016 and the Court entered an Order converting
the case to a Chapter 7 case on December 22, 2016.

Debtor’s delinquency at the time of conversion was 31,604.08.

On l\/larch 2, 2017, U. S. Trustee Nancy J. Gargula filed Adversary Proceeding
Number 17-01018 as Complaint To Deny Discharge against Debtor for the reason
that Debtor had knowingly and fraudulently made a false oath or account

On July 20, 2017, in Court Case 16-11545, the Court entered an Order Approving an
Agreed Order Denying Discharge filed by Debtor and United States Trustee Nancy J.
Gargula.

Debtor’s pattern of filing cases without making full payments, not abiding by the
Orders of the Court with timely filings and submissions and lack of cooperation is
prejudicial to creditors

ln the present case Debtor has failed to provide the documents necessary for Trustee
to review Debtor’s assets, income and disposable income and in turn has led to
unreasonable delay prejudicial to creditors who have already experienced delay and
expense due to Debtor’s pattern of failure to make full Plan payments and complete a

Chapter 13 Plan.

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WHEREFORE, Trustee moves, for the reasons stated above, that this bankruptcy be
dismissed pursuant to ll U.S.C. §l307(c)(1) and 11 U.S.C. §1307(c)(3), and any other
applicable statutes

Dated: Respectfully Submitted,

December 11, 2018
/s/ Debra L. Miller, Trustee
Debra L. l\/liller, Chapter 13 Trustee
PO Box 11550
South Bend, IN 46634
(574) 254-1313

CERTIFICATE ()F SERVICE

l hereby certify that a copy of this Motion was Served as follows on
December 11, 2018

By U.S. l\/Iail postage prepaid:
Debtor: Tiaunshai King, 2227 Turnberry Lane, Fort Wayne, IN 46814

By electronic mail via Cl\/I/ECF:
Debtor’s Attorney: Pro Se
U.S. Trustee: ustregionl 0.so.efc@usdoi.gov

/s/ Debra L. l\/liller, Trustee

